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16                      IN THE UNITED STATES DISTRICT COURT
17                            FOR THE DISTRICT OF ARIZONA
18
      Manuel De Jesus Ortega Melendres, on           No. CV-07-2513-PHX-GMS
19    behalf of himself and all others similarly
20    situated; et al.,
                                                     JOINT REPORT
21                         Plaintiffs,
      and
22
23    United States of America,

24                         Plaintiff-Intervenor,

25    vs.

26    Paul Penzone, in his official capacity as
      Sheriff of Maricopa County, Arizona, et al.,
27
                           Defendants.
28
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 1          This Joint Report is submitted to comply with this Court’s order that the parties
 2   “confer and submit a report stipulating whether a show cause hearing would focus only
 3   on contempt remedies or will also encompass whether all reasonable steps were taken
 4   to comply with the Court’s Order, and what discovery the parties request.” (Doc. 2658.)
 5   The parties have conferred regarding the issues noted in this Court’s order and submit
 6   the following:
 7
            1. Scope of Future Hearing.
 8
 9          Defendants’ Position: Any future hearing that this Court intends to order in
10   response to Plaintiffs’ Motion for Order to Show Cause (Doc. 2610) (“the Motion”)
11   should focus on remedies.         Defendants understand that the Court intends to find
12   Defendant Maricopa County Sheriff in contempt for failing to timely complete
13   investigations   as    required    by   Paragraph   204   of   the   Second    Amended
14   Second/Supplemental Permanent Injunction/ Judgment Order (Doc. 1765) (“Second
15   Order”), and Defendants will not present any further evidence or arguments contesting
16   a finding in that regard. Defendants’ concur with this Court’s comment that the most
17   reasonable use of the parties’ time “is to focus the hearing on what kind of remedy [this
18   Court] is going to impose to bring the Sheriff’s Office into compliance.” (6/3/21 Tr. at
19   15.) Because Defendants will not present any further substantive merits defense to the
20   Motion, the future hearing can focus on remedies.
21          Plaintiffs’ and United States’ Position:
22
            In light of Defendants’ position, Plaintiffs and the United States agree that the
23
     contempt hearing should focus on the issue of remedies.
24
25          2. Discovery.
26          Defendants’ Position:
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28
                                                  2
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 1            (a) Management Study. Defendants propose that a joint consultant be retained
 2   to prepare a management study that would provide an evidence-based review of staffing
 3   and organizational efficiencies within the Professional Standards Bureau (PSB) and the
 4   Maricopa County Sheriff’s Office (MCSO) as a whole. The study would make findings
 5   and staffing recommendations addressing the issues raised in the Motion. Defendants’

 6   proposal is based on this Court’s comments at the June 3, 2021 hearing about the utility

 7   of a management study. (6/3/21 Tr. at 18.) Defendants propose that the consultant be
     responsible to the Court and be selected based on the agreement of the parties, or by
 8
     the Court if the parties are unable to reach an agreement regarding an appropriate
 9
     consultant. A single report will provide a common factual basis that all parties could
10
     rely on, and avoids the unnecessary time and costs of separate experts and competing
11
     analyses.    Without this centralized approach, MCSO could pay for three separate
12
     reports on the same issue because MCSO pays its own expenses, Plaintiffs’ expenses
13
     and the Monitor’s expenses. There is also potential delay and expense with multiple
14   reports and expert depositions. Based on the management study, MCSO and the parties
15   could develop recommended actions to comply with Paragraph 204 of this Court’s
16   Order.
17            If this Court declines to require a single management study and, instead, permits
18   separate expert reports, Defendants request the opportunity to depose Plaintiffs’ and the
19   United States’ experts and present rebuttal expert reports.

20            (b) Defendants’ Position on Plaintiffs’ and United States’ discovery

21   requests.     On Friday, June 4, Defendants requested a meet-and-confer call with
     Plaintiffs and the United States. The request set out Defendants’ proposal for a joint
22
     expert appointed by the Court, and asked the parties for a meeting to discuss the
23
     proposal, the anticipated discovery requests from Plaintiffs and the United States, and
24
     the potential remedies being considered by Plaintiffs and the United States, as the
25
     potential remedies could inform the relevant discovery. The parties spoke on Tuesday,
26
     June 8. During the conference, the Plaintiffs and United States rejected MCSO’s
27
     proposal for a joint expert, failed to identify any potential remedies, and declined to
28   discuss their discovery requests other than in broad categories. MCSO did not receive
                                                 3
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 1   the attached “Exhibit A” until 9:43 a.m. Arizona time on June 10, the day this report
 2   was due to the Court. Due to the short timeframe from receiving the discovery requests
 3   this morning, MCSO has been unable to assess the appropriateness of many of these
 4   requests and does not yet have positions on them.
 5          The purpose of skipping directly to the remedies phase is to avoid full-scale,

 6   lengthy, and burdensome discovery. Yet the discovery sought by the United States

 7   and Plaintiffs is what would be required for a full liability trial, not for a trial narrowly
     focused on remedies. This is clear from the United States’ and Plaintiffs’ explanation
 8
     that they desire this information in order to determine “what failures at MCSO caused
 9
     Defendants’ violations.” Exhibit A sets out over 30 document requests—most for
10
     “all” responsive documents—going back five years. Discovery related to remedies
11
     should focus on current processes and procedures, including staffing to determine
12
     where to go from here. Any look backwards goes to the issue of contempt and not
13
     future remedies. And although they represented at the hearing that they would seek
14   several depositions from “high-ranking” MCSO officials in the event that discovery
15   proceeded on a liability phase (6/3/21 Tr. at 47), Exhibit A sets forth requests to
16   depose, at a minimum, eleven witnesses, some of whom are lower-ranking personnel
17   within PSB. If Plaintiffs and the United States are granted all of the discovery they
18   request in Exhibit A, it is doubtful that a contempt hearing could be scheduled this
19   year, much less in the next three months. Their proposed discovery is precisely the

20   massive diversion of resources away from compliance efforts that MCSO would like

21   to avoid.
            Some of the document categories and requests in Exhibit A seek information
22
     that would be used by an expert assessing MCSO’s staffing and practices. Defendants
23
     share the United States’ and Plaintiffs’ goal of determining the “specific steps to reduce
24
     the existing backlog and make MCSO’s misconduct investigations system function
25
     appropriately going forward (such as the relative allocation of resources to misconduct
26
     investigations and patrol functions).” This is an area for expert testimony, and the
27
     United States and Plaintiffs admit that they “plan to call expert witnesses to testify on
28   these issues.” MCSO believes that it makes more sense to provide information directly
                                              4
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 1   to a single expert consultant conducting a management study for all parties, rather than
 2   providing information to Plaintiffs’ and the United States’ counsel and then engaging
 3   in a battle of experts. All parties will be able to challenge the fact-finding, conclusions,
 4   and recommendations of a joint expert, and proceeding with this proposal will be both
 5   more efficient and more cost-effective for everyone involved in this process.

 6          Several of the requests are unquestionably overbroad and unduly burdensome.

 7   For example, MCSO objects to the United States’ and Plaintiffs’ requests for unlimited
     access to the TraCS database of traffic stops, or to a back-end copy of this database,
 8
     because it has nothing to do with PSB or its investigative function. MCSO also objects
 9
     to their request for live, unfettered access to the entire IAPro database. The IAPro
10
     database stores all information concerning all of MCSO’s efforts to comply with the
11
     Court’s Orders, across all divisions within the Office, not just PSB. As another
12
     example, MCSO objects to Plaintiffs’ and the United States’ request for unlimited
13
     access to all body-worn camera footage in evidence.com, which has no relation to
14   MCSO’s and PSB’s staffing. In fact, this discovery request was initially proposed by
15   the Department of Justice and Plaintiffs in their motion related to the Traffic Stop
16   Monthly Reports (see Doc. 2607-2 at 5), and then abandoned. Discovery for the
17   remedies phase should not be extended to cover information about traffic stops that
18   Plaintiffs and the United States wish to use in support of other motions pending before
19   the Court.

20          MCSO is investigating whether a copy could be made of the IAPro database
21   relating solely to the portion of IAPro that concerns internal investigations. Even if so,
22   such access would violate the confidentiality requirements that apply to on-going
23   investigations under state law. See A.R.S. 38-1109(A) (establishing that information
24   about investigations are confidential until complete). Therefore, MCSO opposes the
25   broad access DOJ has requested. Notwithstanding those objections, defense counsel
26   are reviewing what information can be provided from IAPro that may assist in the
27   analysis of the remedial issues before the Court.
28
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 1          Finally, MCSO objects to reproducing or compiling information that has already
 2   been provided to the United States and Plaintiffs. MCSO makes extensive document
 3   productions on a regular basis to comply with this Court’s orders, and the United States
 4   and Plaintiffs should determine whether they already have the information they have
 5   requested. MCSO should not be put to the burden of compiling and organizing data
 6   that is already in the United States’ and Plaintiffs’ possession. If MCSO is required to
 7   produce any information to the DOJ, it should only be required to produce records and
 8   information that it has not previously produced.
 9
     Plaintiffs’ and the United States’ Position:
10
11          On the issue of remedies, Plaintiffs and the United States will seek discovery to
     learn what failures at MCSO caused Defendants’ violations and to determine specific
12
     steps to reduce the existing backlog and make MCSO’s misconduct investigations
13
     system function appropriately going forward (such as the relative allocation of
14
     resources to misconduct investigations and patrol functions). Plaintiffs and the United
15
     States plan to call expert witnesses to testify on these issues.
16
            At this point, Plaintiffs and the United States have only limited information
17
     about MCSO’s internal structures and resource allocation that have caused or
18
     contributed to the failure to complete timely investigations as required by Paragraph
19
     204 of the Second Order. For example, MCSO produces some documents related to
20
     PSB’s operations, including closed case files. Review of individual cases that have
21
     already been closed does not permit Plaintiffs and the United States to understand
22   systemic issues of supervision and management at PSB that have led to the large
23   backlog of unresolved misconduct investigations. It also does not inform the broader
24   questions raised by the Court about how MCSO allocates resources to PSB, and
25   whether those decisions are informed by evidence. Plaintiffs and the United States
26   currently do not have direct access to relevant data that would be necessary for their
27   experts to analyze and opine on these issues.

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 1          Defendants have asked Plaintiffs and the United States to agree to a process for
 2   proposing a single management consultant to conduct a study. Plaintiffs and the
 3   United States do not agree with Defendants’ proposal. Plaintiffs and the United States
 4   agree that it is critical to understand how or if MCSO’s mismanagement of resources
 5   enabled the backlog of misconduct investigations for the Court to tailor appropriate

 6   remedies. But a single analysis that results in recommendations is unlikely to be more

 7   efficient for the Court in the long run. First, discovery into MCSO’s systems is a
     necessary predicate for determining the scope of any such analysis, as well as the
 8
     expertise required of those conducting it. Second, the parties may have different views
 9
     about any recommendations that result from such a review, particularly since
10
     Defendants have made clear through their Motion to Modify the Second Order (Dkt.
11
     2647) they believe the Second Order itself is the root of the problem. The Court
12
     would then have to resolve disagreement about the recommendations, which likely
13
     would require discovery and testimony. In any event, a strong factual record will be
14   necessary to support whatever remedies the Court orders. Discovery into the causes of
15   Defendants’ violations and examination of the evidence during the hearing will
16   provide the record that the Court needs to develop an effective remedy.
17          Plaintiffs’ and the United States’ discovery requests regarding remedies are
18   described in Exhibit A.
19          Dated this 10th day of June, 2021.
20
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 1                EXHIBIT A: DISCOVERY REGARDING REMEDIES
 2
     Requests for Production
 3
 4   Nature of MCSO’s IA Backlog

 5      • All documents related to steps, reforms, or plans to address the PSB backlog,
          i.e., cases that remain open after the timelines imposed by the Second Order,
 6        and to the backlog in District IA investigations since July 26, 2016.
 7      • Documents sufficient to show the number of complaints each month, since July
          26, 2016, categorized as external complaints, internal complaints, service
 8        complaints, critical incidents, minor misconduct, and performance-related
 9        misconduct. (In the alternative, this can be produced through IAPro, if all of
          these data are tracked in IAPro.)
10
        • A back-end copy of MCSO’s IAPro Database (i.e., a copy of the Oracle or
11        SQL database that houses MCSO’s IAPro system) that includes raw data
          pertaining to the status and timeliness of MCSO misconduct investigations,
12        from initial intake to final disposition, covering the time period of July 26,
13        2016, to the present, including any manuals or technical specifications related
          to IAPro.
14
        • Front-end access (via VPN) to MCSO’s IAPro Database (i.e., log-on
15        credentials to enable access to the database as an investigator or PSB
          supervisor would have) covering the time period of July 26, 2016, to the
16        present.
17      • Org charts for MCSO listing changes in assignment since July 26, 2016.
18      • Documents related to the work of MCSO’s Employee Retention and
          Performance Division (“ERPD”).
19
     PSB and District Investigators
20
        • Documents related to MCSO’s attempts to hire additional IA investigators or
21        support staff since July 26, 2016.
22      • All applications and resumes for persons who applied to work as investigators
          or support staff for conducting investigations into misconduct as defined by
23        Paragraph 162 of the Second Order (Doc. 1765).
24      • Job descriptions for PSB investigators and civilian staff of PSB since July 26,
25        2016.
        • Roster of all PSB personnel, including position and identifying information
26
          (call sign or employee number) through which they are identified in IA Pro,
27        including time period of assignment to PSB, from July 26, 2016, to the present.

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 1      • Documents showing compensation packages for all personnel involved in
 2        misconduct investigations, whether in PSB or in districts or other divisions,
          including overtime, from July 26, 2016, to the present.
 3
        • Documents showing monthly overtime reports for MCSO, broken down by
 4        District and Division, and rank, from July 26, 2016, to the present.

 5      • Documentation showing protocols or policies governing requests for and
          approval of overtime from July 26, 2016, to the present.
 6
     MCSO’s Budget and Enforcement Priorities
 7      • Documents sufficient to show MCSO’s projected/proposed budgets with
 8        sufficient detail to show the relative allocation of resources between
          misconduct investigations, patrol, and other departments/functions, along with
 9        MCSO’s actual expenditures, for every year going back to July 26, 2016.
10      • All documents or plans related to MCSO’s deployment strategy and
          enforcement priorities since July 26, 2016, including plans to allocate deputies
11
          or units to patrol operations across the agency.
12      • A back-end copy of MCSO’s TraCS Database (i.e. a copy of the database that
13        houses MCSO’s TraCS system) that includes raw data pertaining to deputies
          assigned to traffic enforcement from July 26, 2016, to the present, including
14        any manuals or technical specifications related to TraCS.
15      • Front-end access (via VPN) to MCSO’s TraCS Database covering the time
          period of July 26, 2016, to the present.
16
        • Access to MCSO’s body-worn camera footage via evidence.com.
17
        • Computer-Aided Dispatch data captured since July 26, 2016, including raw
18        data pertaining to MCSO’s patrol deployment and response to calls for service.
19      • Database that contains patrol assignment data – including shift, and
          assignment, since July 26, 2016. (This should include identifying information
20        for the employee/posse/deputy service aide, such as call sign or other
21        information that would allow them to be identified in other MCSO personnel
          records.)
22
        • All documents related to studies, reports, or analysis of MCSO personnel
23        staffing, human resources, the posse program, and deputy service aides in
          patrol since July 26, 2016.
24
        • All documents concerning actual or potential “civilianization” (meaning using
25        civilians to perform functions that do not require sworn personnel) for any
26        functions of MCSO, including BIO, PSB, or Patrol.

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 1   MCSO’s Proposed Modifications to Second Order
 2      • Documents related to any review by MCSO (including employees, contractors
          or consultants) to determine the number of pending IAs that could be
 3        reclassified as performance deficiencies or minor misconduct.
 4      • Documents related to any review by MCSO (including employees, contractors
 5        or consultants) to determine the number of pending IAs in which the
          complainant has indicated that he or she wishes to withdraw the complaint, is
 6        uncooperative with the investigation, or is unwilling to provide additional
          information.
 7
        • Documents related to any review by MCSO (including employees, contractors
 8        or consultants) to determine the number of pending IAs in which the principal
 9        or complainant is a former employee.
        • Documents related to any review by MCSO (including its contractors or
10
          consultants) to determine the number of pending IAs that are older than one
11        year.
12      • Documents pertaining to all other modifications to the Second Supplemental
          Order that MCSO plans to propose during the contempt hearing.
13
     MCSO’s Current Internal Oversight of Misconduct Investigations
14
        • Documents related to any internal audits of misconduct investigations for
15        compliance with policy, including any referrals for misconduct investigations
          that were made by MSCO auditors as a result of those audits, since July 26,
16        2016.
17      • Documents showing the amount of time misconduct investigators (including
          PSB and District investigators) spend on investigations, including timesheets
18        and investigator logs, from July 26, 2016, to the present.
19      • All documents related to any studies performed by MCSO to evaluate whether
          cases are under-worked or over-worked, from July 26, 2016, to the present.
20      • All documents relating to PSB’s assignment of two investigators for
          misconduct investigations, including any instances in which MCSO has
21
          departed from the two-investigator model, any standards or policies for
22        determining which cases should receive two investigators, and any research or
          studies by MCSO into the feasibility of using a single investigator for some
23        investigations, from July 26, 2016, to the present.
24   Third-party subpoenas
25      • Records held by complaint intake vendors pertaining to testing performed for
          MCSO.
26      • Records held by consultants hired by MCSO pertaining to their work
27        evaluating, studying, or assisting with IA investigations or the functioning of
          PSB.
28
                                              13
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 1   Interrogatories
 2      • For each PSB investigator and District IA investigator employed for any time
           since July 26, 2016, to the present, identify the number of investigations that
 3         investigator has closed per year starting on July 26, 2016.
        • List of any instances in which discipline or corrective action was imposed to
 4
           address deficiencies in conducting misconduct investigations, including any
 5         identifying incident information (e.g., IA number), any time since July 26,
           2016, to the present.
 6      • Identify consultants or contractors for MCSO engaged or retained since July
 7         26, 2016, to evaluate, study, or assist with IA investigations or the functioning
           of PSB.
 8      • Identify persons with decision making authority for agency-wide deployment
 9         of deputies for traffic enforcement and for misconduct investigations.

10   Depositions (some of which may be 30(b)(6))
       • Executive Chief Stephanie Molina (Compliance Bureau)
11
       • Sheriff Paul Penzone
12     • Captain David Lee (PSB Commander from March 2019 to February 2021)
       • Captain Greg Lugo (PSB Commander since February 2021)
13
       • Executive Chief Rick Morris (Chief of Enforcement)
14     • Jim Prindivil, CFO
       • Deputy Chief Ken Booker (BIO)
15
       • Arianne Graumann (Special Projects Manager, PSB)
16     • Dariell Bone (Deputy PSB Commander)
       • Consultants hired by MCSO to assist with clearing or advising on backlogged
17         IA cases.
18     • Individuals hired from Maricopa County Human Resources division to work in
           MCSO’s Employee Retention and Performance Division
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